~ Case 1:05-cv-01084-.]DT-STA Document 21 Filed 06/13/05 Page 1 of 6 Page|D 14
UNITED STATES DISTRICT CoURT

EASTERN Dtsriucr oF LoulslANA
OFFICF. oF THE CLERK

LoRRETTA G. WHY'rE 500 PoYt)RAs ST., SUITE C-151
CLERK NEw ORLEANS, LA 70130

June 3, 2005

Robert Di Troiio, Clerk
United States District Court

’.5:*
I__
Westem District of Tennessee §§

167 N. Main St., Room 242
Memphis, TN 38]03

' " ;;|"1
{ ` !|`\'i

in Re: MDL 1657 Vioxx Products Liability Litigation L (3)

 

`U`l`[i

Dear Mr. Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. lt instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

D() NOT FORWAR]) THE ORIGINAL RECORD. The I-Ionorable Eldon E. Fallon, U.S.
District Court J'udge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor
Court.

Due to the high volume of cases involved in this litigation please provide paper copies of

the above documents instead of simply referring to your website. Your prompt attention in this
matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7'704.

Very truly yours,

Loretta G. W y ,Clerk
By

Deputy Clerk

Enclosures
cc: ludicial Panel on Multidistrict Litigation

C>S~\o%“i m

- Case 1:05-cv-01084-.]DT-STA Document21 Filed 06/13/05

Your Case Nos.

- _1(\23

< l:05-1084
1105-1089
l105-1095

Case Title

f“hm~|es P nailey Sr et al v. Merck & Co., lnc.
Gerald D. Riley, et al v. Merck & Co., lnc., et al
Larry L. Peter, et al v. Merck & Co., Inc., et al
Shirley F. Sanders v. Merck & Co., Inc., et al

Page 2 of 6 PagelD 15

Our Case Nos.

05-2054 L m
05-2055 L @D
05-2056 L (3)
05-2057 L (3)

citro
l

_ v ` l r.

§yl.§§l§[l Td 6/13/05 Page 3 0f6 Page|D 16

   

n JuoiciAL
liilliliiii' 27 Fii l= 5¢ MULT'D'STHICYFL“J$||`GA¥:QN
rossi la c. watts MAY ~5 2005
treas FME
nocIrEr No. 1657 CLEaK-s oDF.=.CE

1 IAL PANEL oN MUL TIDISTRICT LITIGA TION
IN RE I/Io)or PR 01) UCTS LIABILITY LITIGA TION
(SEE A TTA CHED sCHED ULE)
CONDITIONAL TRANSFER 0RDER (Cro-Q)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 350 additional actions have been transferred to the Eastern District of

Louisiana. With the consent of'that court, all such actions have been assigned to the Honorable Eldon E.
Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact Which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel On Multidistrict Litigation, 199
F.R.D. 425, 43 5-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District
of Louisiana for the reasons stated in the order of February 16, 2005, _F.Supp.Zd__ (J.P.M.L.
2005), and, With the consent of that court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Off`lce of the Clerk of the United States
District Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition With the Clerk
of the Panel within this fifteen (l 5) day period, the stay Will be continued until further order of the Panel.

FOR THE PANEL:

… (,i.@u,/a_

Michael J. ]§eck

 

 

 

 

 

 

 

 

 

 

 

 

 

|
inasmuch as no objection is CLERK S OFF|CE
pending at this time, the A TRUE COPY
Stay is litted. ,
' EQ 2005 _. ...... y
MAY 2 3 2005 w ~"'"'“ _ F@s______,___,_
. i‘roe».~.ee '
Deputy cierk, u.s. District court T w ’”'
CLERK'S OFFiCE .Eastern District of Louisiana jca"»tm£rep E§@ "§
JUD|CiAL PANEL ON New Or|eans, LA __ Dac. No '
MULT!D|STRICT L|TlGAT|ON

 

 

 

OS"lO%Ll

Case 1:05-cv-01084-.]DT-STA Document 21 Filed 06/13/05 Page 4 of 6 Page|D 17

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
ROb€l't R. Di TTOliO 111 South Highland Ave., Room 262
Clel'k Of COuI't Jackson, Tennessee 38301

731-421-9200
731-421-9210 Fax

June 14, 2005

United States District Court
Eastern District of Lousiana
500 Poydras St., Room C-151
New Orleans, LA 70130

RE: Gerald Riley, Et al., vs. Merck & Co., Inc., Et al.,
05-2055 L (3) -Your Case No.
05-1084 T/An -Our Case No.

Dear Clerk:

Pursuant to the Conditional Transfer Order (CTO-9) the above referenced case has been transferred to the
United States District Court for the Eastern District of Louisiana . Please find enclosed a certified copy of
the Notice of Removal, Lower Court Complaint, Docket Sheet, MDL Transfer Order, and a copy of the
transfer letter to the transferor court. l am also enclosing a copy of this cover letter and requesting that you
acknowledge receipt and return it to our office in the provided envelope Thank you for your attention in
this matter.

Robert R. Di Trolio, Clerl<

Deputy Clerk

ENCLOSURES

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:05-CV-01084 was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

ESSEE

 

Joseph R. Alexander
l\/HTHOFF LAW FIRM
One Allen Center Penthouse
500 Dallas

Houston, TX 77002

Thomas M. Donnell

STEWART ESTES & DONNELL
424 Church St.

Ste. 1401

Nashville, TN 37219--239

.l ames L. Wright
MACCABE & MCGUIRE
77 W. Wacker Dr.

Ste. 3333

Chicago, IL 60601

Steven G. Ohrvall

H[LL BOREN- Jackson
1269 N. Highland Ave.
P.O. Box 3539

Jackson, TN 38303--353

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson, TN 38303--053

.l ames l\/l. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Case 1:05-cv-01084-.]DT-STA Document 21 Filed 06/13/05 Page 6 of 6 Page|D 19

Joseph R. Alexander
l\/lITHOFF LAW FORM
One Allen Center Penthouse
500 Dallas

Houston, TX 77002

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Honorable .l ames Todd
US DISTRICT COURT

